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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                        JENNIFER WHALEN, et al.,
                                   7                                                       Case No. 13-cv-03072-EMC (MEJ)
                                                       Plaintiffs,
                                   8                                                       DISCOVERY ORDER
                                                v.
                                   9
                                        FORD MOTOR COMPANY,
                                  10
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On April 22, 2016, the Court held a telephonic discovery conference regarding the

                                  14   deposition of Ford Motor Company’s expert witness, Dr. Hal Singer. Pursuant to discussions at

                                  15   the conference, the Court ORDERS as follows.

                                  16          Dr. Singer shall: (1) produce to Defendant’s counsel all pages of the expert report used at

                                  17   his April 22, 2016 deposition that consist of changes to the expert report previously produced; and

                                  18   (2) provide Defendant’s counsel with a declaration attesting that all other notations consist of

                                  19   discussions with Plaintiffs’ counsel and/or were not relied upon during the deposition.

                                  20          IT IS SO ORDERED.

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                                  22   Dated: April 22, 2016

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                                                                                        MARIA-ELENA JAMES
                                  24                                                    United States Magistrate Judge
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